Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 1 of 18. PageID #: 492527




                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                          MDL No. 2804

THIS DOCUMENT RELATES TO:                  Case No. 1:17-md-2804

Cleveland Bakers and Teamsters Health      Hon. Dan Aaron Polster
and Welfare Fund, et al. v. Purdue
Pharma L.P., et al.

Case No. 1:18-op-45432-DAP


      MEMORANDUM IN SUPPORT OF MANUFACTURER DEFENDANTS’
      MOTION TO CERTIFY THE COURT’S FEBRUARY 21, 2020 ORDER
          FOR IMMEDIATE APPEAL UNDER 28 U.S.C. § 1292(b)
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 2 of 18. PageID #: 492528




                                                 TABLE OF CONTENTS

TABLE OF AUTHORITIES ...................................................................................................... ii

INTRODUCTION ......................................................................................................................1

BACKGROUND ........................................................................................................................3

ARGUMENT ..............................................................................................................................5

              THE ORDER PRESENTS A CONTROLLING QUESTION OF LAW.......................5
              THE DEEP AND ACKNOWLEDGED CIRCUIT SPLIT HERE
              CONCLUSIVELY ESTABLISHES A SUBSTANTIAL GROUND FOR
              DIFFERENCE OF OPINION......................................................................................6
              IMMEDIATE REVIEW WOULD MATERIALLY ADVANCE THE ULTIMATE
              TERMINATION OF THE LITIGATION....................................................................9

CONCLUSION .........................................................................................................................11




                                                                   i
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 3 of 18. PageID #: 492529




                                             TABLE OF AUTHORITIES

                                                                                                                          Page(s)

Cases

Desiano v. Warner-Lambert Co.,
   326 F.3d 339 (2d Cir. 2003) .................................................................................................. 7

United States ex rel. Elliott v. Brickman Group Ltd., LLC,
   845 F. Supp. 2d 858 (S.D. Ohio 2012) ................................................................................... 9

Hale v. Johnson,
   845 F.3d 224 (6th Cir. 2016) ................................................................................................. 1

Holliday v. Xerox Corp.,
   555 F. Supp. 51 (E.D. Mich. 1982), aff’d, 732 F.2d 548 (6th Cir. 1984) ................................ 2

In re Air Crash off Long Island, N.Y. on July 17, 1996,
    27 F. Supp. 2d 431 (S.D.N.Y. 1998) ...................................................................................... 1

In re Avandia Mktg., Sales Practices & Prods. Liab. Litig.,
    804 F.3d 633 (3d Cir. 2015) .......................................................................................... 6, 8, 9

In re Baker & Getty Fin. Servs., Inc.,
    954 F.2d 1169 (6th Cir. 1992) ........................................................................................... 5, 6

In re Blue Cross Blue Shield Antitrust Litig.,
    No. 2:13-CV-20000-RDP, 2018 WL 3326850 (N.D. Ala. June 12, 2018) ........................ 2, 10

In re Boardwalk Marketplace Sec. Litig.,
    849 F.2d 89 (2d Cir. 1988) .................................................................................................... 1

In re Buccina,
    657 F. App’x 350 (6th Cir. 2016) ...................................................................................... 1, 6

In re EpiPen Mkt., Sales Pracs. & Antitrust Litig.,
    No. 17-md-2785, 2020 WL 1180550 (D. Kan. Mar. 10, 2020)............................................... 7

In re Miedzianowski,
    735 F.3d 383 (6th Cir. 2013) ......................................................................................... 1, 6, 7

In re Neurontin Mktg. & Sales Practices Litig.,
    712 F.3d 21 (1st Cir. 2013).................................................................................................... 6

Int’l Bhd. of Teamsters, Local 734 Health & Welfare Tr. Fund v. Philip Morris
    Inc.,
    196 F.3d 818 (7th Cir. 1999) ................................................................................................. 8



                                                                 ii
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 4 of 18. PageID #: 492530




Johnson v. Jones,
   515 U.S. 304 (1995) .............................................................................................................. 6

Laborers Local 17 Health & Benefit Fund v. Philip Morris, Inc.,
   191 F.3d 229 (2d Cir. 1999), as amended (Aug. 18, 1999)..................................................... 8

Miranda v. Ponce Fed. Bank,
   948 F.2d 41 (1st Cir. 1991).................................................................................................. 10

Negron v. United States,
   553 F.3d 1013 (6th Cir. 2009) ............................................................................................... 6

Negron v. United States,
   No. 1:05CV2305, 2007 WL 9717673 (N.D. Ohio Oct. 5, 2007)............................................. 6

Newsome v. Young Supply Co.,
   873 F. Supp. 2d 872 (E.D. Mich. 2012) ................................................................................. 5

Painters & Allied Trades Dist. Council 82 Health Care Fund v. Takeda
   Pharm. Co.,
   943 F.3d 1243 (9th Cir. 2019) ....................................................................................... 6, 7, 9

Perry v. Am. Tobacco Co.,
   324 F.3d 845 (6th Cir. 2003) ............................................................................................. 5, 8

Sergeants Benevolent Ass’n Health & Welfare Fund v. Sanofi-Aventis U.S. LLP,
   806 F.3d 71 (2d Cir. 2015) ................................................................................................ 6, 9

Sidney Hillman Health Ctr. v. Abbott Labs.,
   873 F.3d 574 (7th Cir. 2017) ................................................................................................. 7

Southeast Laborers Health & Welfare Fund v. Bayer Corp.,
   444 F. App’x 401 (11th Cir. 2011) ........................................................................................ 7

Sterk v. Redbox Automated Retail, LLC,
    672 F.3d 535 (7th Cir. 2012) ........................................................................................... 2, 10

Susan B. Anthony List v. Driehaus,
   No. 1:10-cv-720, 2011 WL 5299378 (S.D. Ohio Nov. 2, 2011) ........................................... 10

UFCW Local 1776 v. Eli Lilly & Co.,
  620 F.3d 121 (2d Cir. 2010) .......................................................................................... 7, 8, 9

United States v. Philip Morris USA Inc.,
   No. 99-2496, 2004 WL 1514215 (D.D.C. June 25, 2004) .................................................... 10

Statutes

28 U.S.C. § 1292(b) ........................................................................................................... passim


                                                                  iii
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 5 of 18. PageID #: 492531




       Pursuant to 28 U.S.C. § 1292(b), the undersigned pharmaceutical manufacturers (the

“Manufacturer Defendants”) respectfully move to certify for immediate appeal this Court’s Feb-

ruary 21, 2020 Opinion and Order, Doc. 3177 (“Order”), denying, as relevant here, their motion

to dismiss the RICO claims brought by Plaintiffs Cleveland Bakers and Teamsters Health and

Welfare Fund and Pipe Fitters Local Union No. 120 Insurance Fund (the “Third-Party Payors”).

                                        INTRODUCTION

       This case presents a recurring and important legal issue on which the circuits are deeply

divided: whether third-party payors suing pharmaceutical manufacturers for alleged misrepresen-

tations concerning the risks of FDA-approved prescription medications can satisfy RICO’s proxi-

mate cause requirement. As this Court recognized, numerous circuits have reached varying con-

clusions on this purely legal question, and resolution of the issue could be dispositive of the Third-

Party Payors’ RICO claims here. See Order at 16-23. The Sixth Circuit repeatedly has held that

§ 1292(b) certification is warranted when “the circuits are split on the question.” In re Miedzian-

owski, 735 F.3d 383, 384 (6th Cir. 2013) (citation omitted); see In re Buccina, 657 F. App’x 350,

351 (6th Cir. 2016) (similar). The acknowledged circuit split here is thus reason alone to certify.

Indeed, other courts have granted interlocutory review of the very issue here. This Court should

do the same.

       Beyond that, “the importance of the issue[]”—particularly in the context of an MDL with

more than 100 similar third-party payor actions pending—reinforces the need for immediate re-

view. Hale v. Johnson, 845 F.3d 224, 226 (6th Cir. 2016). “The institutional efficiency of the

federal court system is among the chief concerns underlying § 1292(b). Because the district

court’s efficiency concerns are greatest in large, complex cases, certification may be more freely

granted in so-called ‘big’ cases.” In re Air Crash off Long Island, N.Y. on July 17, 1996, 27 F.

Supp. 2d 431, 436 (S.D.N.Y. 1998) (citation omitted); accord In re Boardwalk Marketplace Sec.


                                                  1
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 6 of 18. PageID #: 492532




Litig., 849 F.2d 89, 90 (2d Cir. 1988) (mem. order) (similar); In re Blue Cross Blue Shield Antitrust

Litig., No. 2:13-CV-20000-RDP, 2018 WL 3326850, at *6 (N.D. Ala. June 12, 2018) (“Given the

nationwide scope and importance of this multidistrict litigation, the need for § 1292(b) review is

particularly compelling.”).

       Early appellate resolution of this key legal question will also streamline this case by elim-

inating, or at least clarifying, the Third Party-Payors’ RICO claims. Reversal would result in the

dismissal of these complex claims. Even affirmance would provide guidance that could help de-

crease or avoid disputes concerning the scope of discovery and, if necessary, any trial.

       In addition, immediate appellate review will eliminate the “uncertainty” regarding the

threshold viability of the Third-Party Payors’ RICO claims, a necessary prerequisite to any mean-

ingful discussion about potential resolution of the litigation. Sterk v. Redbox Automated Retail,

LLC, 672 F.3d 535, 536 (7th Cir. 2012); see Holliday v. Xerox Corp., 555 F. Supp. 51, 59 (E.D.

Mich. 1982), aff’d, 732 F.2d 548 (6th Cir. 1984) (facilitating settlement is a basis for § 1292(b)

appeal). Currently, some circuit decisions find that third-party payors can satisfy RICO’s proxi-

mate cause requirement, while other circuit decisions reject the same types of claims for lack of

proximate cause. This divide skews each side’s view of the potential value of the Third-Party

Payors’ RICO claims here—which seek treble damages.

       For these and other reasons set forth below, the Court should certify its Order for interloc-

utory review.1




1
  The Distributor Defendants also filed a motion for leave to file a motion to certify the Order,
which this Court granted on April 7, 2020. The Manufacturer Defendants incorporate by reference,
where relevant, the arguments made in support of the Distributor Defendants’ motion to certify.
See, e.g., Doc. 3235-1, 3235-2.


                                                 2
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 7 of 18. PageID #: 492533




                                        BACKGROUND

       The Third-Party Payors are Ohio-based union health and welfare funds that, “[s]imilar to

insurance companies,” provide health care and prescription benefits to their union members. Order

at 7. They allege that they “indirectly purchased, paid for, and/or reimbursed others for the costs

of opioids intended for consumption by their covered participants and their dependents.” Id. They

further allege that they “paid for hospital stays, emergency department visits, and medications

associated with opioid misuse, addiction, and overdose.” Id.

       The Third-Party Payors assert claims against the Manufacturer Defendants and other De-

fendants under the federal civil RICO statute and Ohio law. Id. at 3. They allege that the Manu-

facturer Defendants engaged in a “misinformation campaign” and “made numerous misrepresen-

tations” concerning the risks of prescription opioid medications. Id. at 9. The Third-Party Payors

further allege that the Manufacturer Defendants and other Defendants “acted to suppress evidence

of opioid diversion” and “did not comply with their obligations to monitor and report suspicious

activity under the Comprehensive Drug Abuse Prevention and Control Act.” Id. at 10.

       The Third-Party Payors assert that this alleged conduct caused “economic losses . . . in two

ways: (i) opioid pill payments and (ii) addiction treatment payments.” Id. at 11. First, the Third-

Party Payors claim that “Defendants’ misrepresentations and failures to comply with their anti-

diversion obligations induced Plaintiffs to make hundreds of thousands of dollars of payments for

opioids which Plaintiffs would not have otherwise made.” Id. “Second, Plaintiffs seek reim-

bursement for amounts paid for opioid-related medical treatment for their members, including

reimbursement for increased payments for hospital and emergency department visits associated

with opioid misuse, addiction, and overdose, and increased payments for medications used to

treat illness and disease related to opioid misuse, addiction and overdose.” Id.




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Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 8 of 18. PageID #: 492534




        The Manufacturer Defendants moved to dismiss the Third Party Payors’ lawsuit for failure

to state a claim upon which relief can be granted. Doc. 777. On February 21, 2020, this Court

denied the motion with the exception of the Third-Party Payors’ statutory nuisance and negligence

per se claims, which it dismissed. Order at 64.

        In denying dismissal of the Third-Party Payors’ RICO claims, the Court recognized that

the civil RICO statute “requires the alleged wrongful act to be a proximate cause of the plaintiff’s

alleged injury which, in turn, requires a direct relation between the injury asserted and the injurious

conduct alleged.” Id. at 15. With respect to the Third-Party Payors’ claims seeking to recover the

costs of opioid medications they paid or reimbursed for union members, the Court recognized that

the circuits are deeply split on whether such third-party payor lawsuits satisfy RICO’s proximate

cause requirement. See id. at 16-23. In all of those cases, the Court said, third-party payors “sought

damages based on their payments for various prescription pharmaceuticals (and not for medical

expenses they paid as a result of pharmaceutical use).” Id. at 16. “Seven Circuits applying RICO’s

proximate cause analysis to TPP claims against pharmaceutical companies have reached varying

conclusions concerning the viability of these claims . . . . Four cases allowed the TPP claims to pro-

ceed, and Plaintiffs rely on three of these cases to support their position. Three cases rejected TPP

claims against drug companies, and Defendants rely on these decisions to support their position.”

Id. (citation and footnote omitted). Ultimately, the Court found “more persuasive the analysis of

the Circuits that have allowed TPP claims against pharmaceutical companies to proceed.” Id. 2


2
  With respect to the Third-Party Payors’ RICO claims seeking “reimbursement for amounts paid
for opioid-related medical treatment for their members,” Order at 11, the Court acknowledged
that in its earlier motion to dismiss ruling in Summit County, “the Court expressed reservations about
whether a RICO plaintiff can recoup actual monetary costs paid as a result of treatment provided to
or medical expenses incurred by third-party individuals for whom the RICO plaintiff had some
obligation to provide or pay for care.” Id. at 35. But the Court found that because not all of the Third-
Party Payors’ claims are “dependent on medical costs and expenses, the Court will not, at the motion
to dismiss stage, deny Plaintiffs the opportunity to proceed with their claims.” Id. at 36.


                                                   4
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 9 of 18. PageID #: 492535




                                           ARGUMENT

       A district court may certify an interlocutory order for immediate appeal under § 1292(b)

when (1) the order “involves a controlling question of law”; (2) there is “substantial ground for

difference of opinion”; and (3) an immediate appeal “may materially advance the ultimate termi-

nation of the litigation.” 28 U.S.C. § 1292(b). The Court’s Order denying dismissal of the Third-

Party Payors’ RICO claims for lack of proximate cause satisfies each of these elements.

       THE ORDER PRESENTS A CONTROLLING QUESTION OF LAW

       The Sixth Circuit has recognized that a motion to dismiss RICO claims for failure to satisfy

the proximate cause requirement presents a threshold “question of law.” See Perry v. Am. Tobacco

Co., 324 F.3d 845, 848 (6th Cir. 2003) (affirming Rule 12(b)(6) dismissal of third-party payors’

RICO claims because they “failed to satisfy this proximate cause requirement”). And the Sixth

Circuit has “set a low bar for a determination that a question of law is ‘controlling’ in the context

of a motion for certification under § 1292(b).” Newsome v. Young Supply Co., 873 F. Supp. 2d

872, 875-76 (E.D. Mich. 2012). “The resolution of an issue need not necessarily terminate an

action or have precedential value for a number of pending cases to be controlling.” In re Baker &

Getty Fin. Servs., Inc., 954 F.2d 1169, 1172 n.8 (6th Cir. 1992) (citation, alteration, and internal

quotation marks omitted). “Rather, all that must be shown in order for a question to be ‘control-

ling’ is that resolution of the issue on appeal could materially affect the outcome of litigation in

the district court.” Id. (citation omitted). That standard is easily met here.

       As this Court acknowledged, if the Third-Party Payors failed to adequately plead proximate

cause, their claims can be dismissed. See Order at 14-30. And even if the Sixth Circuit affirms

this Court’s ruling on the motion to dismiss, appellate review of this legal question would still

“simplify, or more appropriately direct, the future course of litigation,” and “thereby reduce the




                                                  5
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 10 of 18. PageID #: 492536




burdens of future proceedings,” by clarifying the contours of the Third-Party Payors’ RICO claims

for discovery and trial. Johnson v. Jones, 515 U.S. 304, 309 (1995).

       THE DEEP AND ACKNOWLEDGED CIRCUIT SPLIT HERE CONCLUSIVELY
       ESTABLISHES A SUBSTANTIAL GROUND FOR DIFFERENCE OF OPINION

       The Sixth Circuit has repeatedly held that there is “a substantial ground for difference of

opinion” when “the circuits are split on the question.” In re Miedzianowski, 735 F.3d 383, 384

(6th Cir. 2013) (citation omitted). Indeed, as this District has explained, under Sixth Circuit prec-

edent “a circuit split establishes substantial ground for difference of opinion under 28 U.S.C.

§ 1292(b).” Negron v. United States, No. 1:05CV2305, 2007 WL 9717673, at *2 (N.D. Ohio Oct.

5, 2007) (granting § 1292(b) certification) (emphasis added). 3

       There is a deep and acknowledged circuit split on the RICO proximate cause issue here.

As this Court explained, “[s]even Circuits applying RICO’s proximate cause analysis to TPP

claims against pharmaceutical companies have reached varying conclusions concerning the via-

bility of these claims.” Order at 16. Three circuits—the First, Third, and Ninth Circuits—have

held that such claims can satisfy RICO’s proximate cause requirement. See In re Neurontin Mktg.

& Sales Practices Litig., 712 F.3d 21 (1st Cir. 2013); In re Avandia Mktg., Sales Practices &

Prods. Liab. Litig., 804 F.3d 633 (3d Cir. 2015); Painters & Allied Trades Dist. Council 82 Health

Care Fund v. Takeda Pharm. Co., 943 F.3d 1243 (9th Cir. 2019), cert. pet. pending No. 19-1069.

Three other circuits—the Second, Seventh, and Eleventh Circuits—have held the opposite. See

Sergeants Benevolent Ass’n Health & Welfare Fund v. Sanofi-Aventis U.S. LLP, 806 F.3d 71 (2d


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  Accord In re Buccina, 657 F. App’x 350, 351 (6th Cir. 2016) (“Courts traditionally will find that
a substantial ground for difference of opinion exists where . . . the circuits are split on the
question.” (citation and internal quotation marks omitted)); Negron v. United States, 553 F.3d
1013, 1015 (6th Cir. 2009) (noting that the District Court found “there was a substantial ground
for difference of opinion considering the circuit split on the issue”); In re Baker & Getty Fin.
Servs., Inc., 954 F.2d 1169, 1172 (6th Cir. 1992) (finding that there was substantial ground for
difference of opinion for purposes of § 1292(b) because “the circuits are split on this issue”).


                                                 6
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 11 of 18. PageID #: 492537




Cir. 2015); UFCW Local 1776 v. Eli Lilly & Co., 620 F.3d 121 (2d Cir. 2010); Sidney Hillman

Health Ctr. v. Abbott Labs., 873 F.3d 574 (7th Cir. 2017); Southeast Laborers Health & Welfare

Fund v. Bayer Corp., 444 F. App’x 401 (11th Cir. 2011). Further highlighting the basis for a

difference of opinion, another panel of the Second Circuit ruled for third-party payor plaintiffs

under New Jersey proximate cause principles. See Desiano v. Warner-Lambert Co., 326 F.3d 339

(2d Cir. 2003).

        Other courts have acknowledged this entrenched circuit split. For instance, the Ninth Cir-

cuit—which this Court found “more persuasive” on the question presented here, Order at 16—

explained that there is an “inter-circuit split” on the question whether “TPPs suing pharmaceutical

companies for concealing an allegedly known safety risk about a drug can satisfy RICO’s proxi-

mate cause requirement.” Painters, 943 F.3d at 1253; see id. (stating that “our sister circuits have

addressed this question in similar factual scenarios and have reached different results”); id. at 1257

(describing the Ninth Circuit’s RICO proximate cause holding as the “opposite” of at least two

other circuits); accord In re EpiPen Mkt., Sales Pracs. & Antitrust Litig., No. 17-md-2785, 2020

WL 1180550, at *48 (D. Kan. Mar. 10, 2020) (predicting that the Tenth Circuit would follow the

First, Third, and Ninth Circuit side of split).

        This case squarely raises the legal issue on which the circuits are split. Just as in all of the

cases comprising the split, the Third-Party Payors here assert civil RICO claims against pharma-

ceutical manufacturers seeking to recover their expenditures for prescription medications based on

alleged unlawful marketing and promotion by the manufacturers. Because the Sixth Circuit “has

not answered” this question, Miedzianowski, 735 F.3d at 384, this Court’s Order warrants inter-

locutory review under § 1292(b).




                                                   7
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 12 of 18. PageID #: 492538




       Notably, other district courts have certified this RICO proximate cause issue for immediate

appeal under § 1292(b)—and circuit courts have permitted such appeals—including in cases com-

prising the circuit split. See In re Avandia, 804 F.3d at 637 (noting that “the District Court certified

its decision for interlocutory appeal under 28 U.S.C. § 1292(b),” and the Third Circuit “granted

permission to appeal”); UFCW Local 1776, 620 F.3d at 130 (noting that “the district court certified

its order denying summary judgment under 28 U.S.C. 1292(b),” and the Second Circuit “granted

Lilly’s petition” to permit the appeal). District courts and courts of appeals have similarly granted

§ 1292(b) appeals to address RICO proximate cause and remoteness issues in other third-party

payor cases. See Int’l Bhd. of Teamsters, Local 734 Health & Welfare Tr. Fund v. Philip Morris

Inc., 196 F.3d 818, 821-22 (7th Cir. 1999) (interlocutory review of RICO proximate cause issue

in tobacco litigation brought by third-party payor plaintiffs); Laborers Local 17 Health & Benefit

Fund v. Philip Morris, Inc., 191 F.3d 229, 232 (2d Cir. 1999), as amended (Aug. 18, 1999) (same).

       Interlocutory review is especially appropriate because, while the Sixth Circuit has not taken

a side on the circuit split, it has previously addressed RICO’s proximate cause requirement in the

context of third-party payor lawsuits, and that precedent is relevant to resolution of the issue here.

In Perry v. American Tobacco Co., 324 F.3d 845 (6th Cir. 2003), a third-party payor asserted civil

RICO claims against tobacco manufacturers seeking to recover “the costs of treating smoking-

related illnesses” based on alleged unlawful marketing by the manufacturers. Id. at 847. In af-

firming the dismissal of those claims, the Sixth Circuit—following “eight other federal circuit

courts of appeals”—held that “such claims must fail because the alleged injuries are too remote,”

and “plaintiffs’ claims are inherently contingent on injury to third-party smokers.” Id. at 849. In

its Order, this Court distinguished Perry and other decisions addressing RICO proximate cause in

cases against tobacco manufacturers, on the basis that “some of Plaintiffs’ claims are not dependent




                                                   8
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 13 of 18. PageID #: 492539




on medical costs and expenses.” Order at 36; see id. at 39 (similar). An immediate appeal would

permit the Sixth Circuit to conclusively determine the application of its prior precedent rejecting

third-party payor RICO claims against tobacco manufacturers to third-party payor RICO claims

against pharmaceutical manufacturers. In decisions comprising the circuit split, other courts of

appeals have addressed their own prior tobacco-related RICO precedents in resolving the question

presented here. See Painters, 943 F.3d at 1252 n.9; In re Avandia, 804 F.3d at 645-46; Sergeants

Benevolent, 806 F.3d at 88; UFCW, 620 F.3d at 132. Only immediate review by the Sixth Circuit

can provide certainty on the application of the Sixth Circuit’s prior tobacco-related RICO proxi-

mate cause precedent to third-party payor actions against pharmaceutical manufacturers.

       In sum, the deep and acknowledged circuit split on a recurring and important legal issue,

in a case of this magnitude and complexity, cries out for interlocutory review under § 1292(b).

       IMMEDIATE REVIEW WOULD MATERIALLY ADVANCE THE ULTIMATE
       TERMINATION OF THE LITIGATION

       “An interlocutory appeal will materially advance the litigation if it will save substantial

judicial resources and litigant expense.” United States ex rel. Elliott v. Brickman Group Ltd., LLC,

845 F. Supp. 2d 858, 871 (S.D. Ohio 2012) (citation and internal quotation marks omitted); see id.

(agreeing that “advancing the ultimate termination of the litigation does not necessarily mean dis-

missal of all claims in the event the Court of Appeals reverses the District Court”). “If a question

of law is ‘controlling,’ and if an appeal definitively determines that question, then such an appeal

will almost certainly ‘materially advance the ultimate termination of the litigation,’ and, ‘save

substantial judicial resources and litigant expense.’” Id. (citation omitted) That is the case here.

       As noted, if the Sixth Circuit concludes that the Third-Party Payors failed to adequately

plead proximate cause, their claims should be dismissed. Civil RICO has been described as “the

litigation equivalent of a thermonuclear device,” so dismissal of the complex RICO claims



                                                 9
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 14 of 18. PageID #: 492540




unquestionably would save the time and resources of the Court and parties. Miranda v. Ponce

Fed. Bank, 948 F.2d 41, 44 (1st Cir. 1991); see United States v. Philip Morris USA Inc., No. 99-

2496, 2004 WL 1514215, at *3 (D.D.C. June 25, 2004) (“There is no question that an interlocutory

appeal of this discrete and central legal issue [under RICO] would conserve the resources of the

Court and the parties.”). And even if the Sixth Circuit adopts the Third-Party Payors’ side of the

circuit split, immediate appellate review would still provide important guidance to the parties and

the Court regarding the more than 100 other third-party payor suits pending in this Court, as well

as other courts throughout the Sixth Circuit. See Order at 7 n.9 (noting that this lawsuit “was

designated as a representative TPP case by the Plaintiffs’ Executive Committee”).

        At a minimum, certainty on a central legal question concerning the threshold viability of

the RICO treble-damages claims could impact any settlement discussions. Numerous courts have

recognized that an interlocutory appeal is warranted when “uncertainty about the status of [one of

plaintiffs’] claim[s] may delay settlement . . . and by doing so further protract the litigation.” Sterk

v. Redbox Automated Retail, LLC, 672 F.3d 535, 536 (7th Cir. 2012); see, e.g., Susan B. Anthony

List v. Driehaus, No. 1:10-cv-720, 2011 WL 5299378, at *2 (S.D. Ohio Nov. 2, 2011) (interlocu-

tory appeal may “materially advance the ultimate termination of the litigation” in part because “an

affirmance may well spur the parties to settle”); In re Blue Cross Blue Shield Antitrust Litig., 2018

WL 3326850, at *6 n.5 (in a complex MDL, “it is . . . plain that [granting interlocutory review]

will likely affect the parties’ settlement prospects”). The lack of certainty on the threshold viability

of the claims in a high-stakes, complex litigation like this inevitably impacts the parties’ positions

in any settlement discussions. The Third-Party Payors’ pursuit of treble damages under RICO

magnifies this uncertainty. All parties will benefit if the Sixth Circuit is given the opportunity to

weigh in now on the legal issues addressed in the Order.




                                                  10
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 15 of 18. PageID #: 492541




                                       CONCLUSION

       The Manufacturer Defendants respectfully request that the Court enter an order certifying

for immediate interlocutory appeal the Court’s February 21, 2020 Opinion and Order, Doc. 3177.

 Dated: April 7, 2020                       Respectfully submitted,

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                                              11
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 16 of 18. PageID #: 492542




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                                      12
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 17 of 18. PageID #: 492543




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                                      13
Case: 1:17-md-02804-DAP Doc #: 3256-1 Filed: 04/07/20 18 of 18. PageID #: 492544




                                CERTIFICATE OF SERVICE

       I certify that on April 7, 2020, I filed the foregoing with the Clerk of the Court using the

ECF System which will send notification of such filing to the registered participants identified

on the Notice of Electronic Filing.

                                              /s/ Jonathan Stern
                                              Service Attorney
